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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RACHEL SPIVACK                      :
                      Plaintiff,    :               CIVIL ACTION NO. 2:22-cv-01438
        v.                          :
                                    :
CITY OF PHILADELPHIA                :
                        and         :
LAWRENCE S. KRASNER                 :
in his official capacity as the     :
District Attorney of Philadelphia,  :
                        Defendants. :
______________________________:


                                   NOTICE OF APPEAL


       Notice is hereby given that Plaintiff in the above-named case hereby appeals to the United

States Court of Appeals for the Third Circuit from the January 4, 2023 Order denying Plaintiff’s

Motion for Summary Judgment and granting Defendants’ Motions for Summary Judgment. (A

copy of the Court’s Order dated January 4, 2023 is attached hereto and marked as “Exhibit A”).




Dated: February 1, 2023                             Respectfully submitted,

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By:                                                 /s/ Sidney L. Gold, Esquire
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EXHIBIT A
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                                CERTIFICATE OF SERVICE

       I, Christina Martinez, certify that on this 1st day of February 2023, I served Plaintiff’s

Notice of Appeal on the following via ECF and/or e-mail:

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